Case 2:17-cv-14202-GAD-EAS  ECF No. 28,
             Case: 19-1763 Document: 28 PageID.515   Filed 04/02/20
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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                 Filed: April 02, 2020




Mr. David J. Weaver
U.S. District Court
for the Eastern District of Michigan
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                     Re: Case No. 19-1763, Dennis Willard v. Huntington Ford, Inc.
                         Originating Case No. : 2:17-cv-14202

Dear Clerk,

  Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Maddison R Edelbrock
                                                 For Robin Jonshon

cc: Ms. Ebony L. Duff
    Mr. Brian J. Farrar
    Ms. Lauren Ann Saad
    Mr. Raymond J. Sterling

Enclosure
Case 2:17-cv-14202-GAD-EAS  ECF No. 28,
             Case: 19-1763 Document: 28 PageID.516   Filed 04/02/20
                                          Filed: 04/02/2020    Page: Page
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 19-1763
                                           ________________

                                                                      Filed: April 02, 2020

DENNIS J. WILLARD

                Plaintiff - Appellant

v.

HUNTINGTON FORD, INC.

                Defendant - Appellee



                                            MANDATE

     Pursuant to the court's disposition that was filed 03/11/2020 the mandate for this case hereby

issues today.



COSTS: None
